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                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO


            GUY GENTILE NIGRO, et al                CIVIL NO. 18-1441 (JAG)

                     Plaintiffs

                        v.
                                                    RE.: First Amendment, Injunctive Relief
  COMMISSIONER OF FINANCIAL INSTITUTIONS
            OF PUERTO RICO

                   Defendants




               MOTION FOR THE COURT’S ABSTENTION PENDING CONCLUSION
                           OF ONGOING STATE PROCEEDINGS

   TO THE HONORABLE COURT:

   COMES NOW Defendant the Office of the Commissioner of Financial Institutions of the

Commonwealth of Puerto Rico (“OCFI”), without submitting to this Court’s jurisdiction and

waiving any affirmative defense and/or any right or defense arising from Title III of Puerto Rico

Oversight, Management and Economic Stability Act (“PROMESA”), 48 U.S.C. §§ 2101 et seq., and

through the undersigned attorney respectfully alleges and prays:

                                            INTRODUCTION

   On July 3, 2018, the Plaintiffs filed the present Complaint alleging violations to the United

States Constitution pursuant to 42 U.S.C. § 1983 seeking money damages. See ECF 1. The alleged

facts are the following: Co-Plaintiff Mint Bank International, LLC (“Mint Bank”) applied for a

permit to organize an International Financial Entity (“IFE”) in Puerto Rico by filing the required

paperwork at the OCFI. The OCFI is a Commonwealth of Puerto Rico entity with the mission to
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regulate and oversee the Commonwealth’s financial system. (See ECF 1 at 7, ¶13). The OCFI

denied Mint Bank’s application for such permit. Mint Bank then filed Petition for Reconsideration,

and the OCFI again denied the request and notified Plaintiffs.

   Plaintiffs invoked the First and the Fourteenth Amendments of the United States Constitution

alleging, in summary, the violation of Co-Plaintiff Gentile-Nigro’s right to freedom of expression

(personal speech or expressive conduct) and the violation of substantive due process because

OCFI’s initial decision was made prior to any opportunity for a hearing. Plaintiffs allege that the

OCFI’s final order impermissibly considered Gentile’s personal speech protected by the First

Amendment when it denied Mint’s application for the permit to organize an IFE in Puerto Rico.

   As part of the Complaint, the Plaintiffs sought nominal, compensatory, and punitive damages,

declaratory and injunctive relief, as well as attorneys’ fees and costs, in accordance with 42 U.S.C.

§ 1988 and other applicable law. (ECF 1 at 31). In that regard, Defendants argued in their Motion

to Dismiss (the “MTD”)(ECF 13) that a claim for monetary damages against them, in their official

capacities, was precluded by the Eleventh Amendment of the U.S. Constitution, which renders

states, including Puerto Rico, immune from claims brought in federal courts by citizens of the

same or any other state. Co-Defendants George R. Joyner Kelly (the Commissioner at the OCFI)

and Iris Nereida Jiménez (the Auxiliary Commissioner of the OCFI) were also entitled to Eleventh

Amendment Immunity. Defendants argued that as long as monetary damages are sought with

regard to the OCFI and the State officers in their official capacities, the Complaint should be

dismissed pursuant to Fed.R.Civ.P. 12(b)(6).




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    Via Memorandum and Order (ECF 20), the Honorable Court granted in part and denied in part

the Defendants’ MTD. All of Plaintiffs’ Fourteenth Amendment claims were Dismissed (ECF 20 at

7, 8). Likewise, all of Plaintiffs’ First Amendment claims against Co-defendants George R. Joyner

Kelly and Iris Nereida Jiménez were also Dismissed (Id.). Also Dismissed were Plaintiffs’ claims for

monetary against OCFI. (ECF 20 at 5).

    The only surviving claims in the instant Complaint are as follows: 1) Plaintiffs’ claims against

the OCFI for declaratory and injunctive relief, as well as for attorney’s fees and costs (Id.), and;

2) Plaintiffs’ First Amendment claims for retaliation and for proscribing Gentile’s exercise of free

speech, but only as to OCFI (ECF 20 at 7, 8).

    Plaintiffs request for declaratory and injunctive relief in the Complaint consists of the

following: 1) That the Court deem OCFI’s permit denial, Law 2731, and OCFI’s regulations2

unconstitutional under the First and Fourteenth Amendments; and 2) to compel OCFI to issue an

IFE permit to Mint, as well as attorney’s fees and costs (See ECF 20 at 4).

    On July 5, 2018, Co-Plaintiff Mint Bank filed for Judicial Review before the Puerto Rico Court

of Appeals (“PRCA”), of the OCFI denial of the permit application to organize an IFE in Puerto

Rico. That PRCA case number is KLRA201800359,3 and it is pending adjudication. Plaintiffs filing

for Judicial Review before the State courts is based on the same facts and events alleged in the

instant complaint.




1
  Law 273 is the Commonwealth’s International Financial Center Regulatory Act (“Law 273 of September 25, 2012”
or “Law 273-2012”), P.R. Laws Ann. tit. 7, § 3081 et seq. See ECF Nos. 1; 1-4. See also ECF 20, fn. 1 at 1.
2
  See ECF 1-4 at 2.
3
  Mint Bank International, LLC v. Oficina del Comisionado de Instituciones Financieras (“OCFI” by its acronym in
the English language), case No. KLRA201800359, Re.: Judicial Review of denial of application for permit to organize
an IFE.

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   Because Plaintiffs have requested this Honorable Court for declaratory and injunctive relief

that calls for, inter alia, declaring Law 273 and OCFI’s regulations unconstitutional, while state

court proceedings involving said Law and regulations are ongoing because of the OCFI denial, this

Honorable Court should, must, abstain from hearing the instant case until after the state

proceedings have run their course if not on 28 U.S.C. § 2283 Anti-Injunction Act, or Pullman or

Younger, or Brillhart/Wilton grounds, then on principles of federalism, comity and sound judicial

administration, a “unity of concerns” behind the various abstention doctrines which support,

favor and promote abstention and comity.

                                            ABSTENTION

   Despite the general principle that federal courts have the virtually unflagging obligation to

exercise the jurisdiction given them, there are statutes and doctrines and other considerations

which allow a federal court to abstain when federal adjudication would disrupt an ongoing state

proceeding. Such statutes and doctrines reveal a strong federal policy against federal-court

interference with pending state judicial proceedings absent extraordinary circumstances.

   It is well settled that the pendency of an action in state court is not a per se bar to related

federal court proceedings. Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 292 (2005).

Indeed, federal courts have a "virtually unflagging obligation . . . to exercise the jurisdiction given

them." Colo. River Water Conservation Dist. v. United States, 424 U.S. 800, 817 (1976). This duty,

however, is not absolute, and it yields in certain "exceptional circumstances, where denying a

federal forum would clearly serve an important countervailing interest." Quackenbush v. Allstate

Ins. Co., 517 U.S. 706, 716 (1996) (citation omitted) (internal quotation marks omitted).




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   The Supreme Court has delineated several abstention doctrines, see id. at 716-17, which

"reflect a complex of considerations designed to soften the tensions inherent in a system that

contemplates parallel judicial processes." Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 11 n.9 (1987).

Although "the categories do matter," Rio Grande Cmty. Health Ctr., Inc., 397 F.3d at 68, "[t]he

various types of abstention are not rigid pigeonholes into which federal courts must try to fit

cases." Pennzoil Co., 481 U.S. at 11 n.9. Here, the Pullman and/or Younger and/or Colorado River-

Brillhart/Wilton abstention doctrines and the principles of federalism, comity, and sound judicial

administration that ground the various abstention doctrines counsel a stay of the federal court

proceedings pending the Puerto Rico courts’ decision in the related case for judicial review.

   Pullman abstention

   Pullman abstention serves to "avoid federal-court error in deciding state-law questions

antecedent to federal constitutional issues." Arizonans for Official English v. Arizona, 520 U.S. 43,

76 (1997); see R.R. Comm'n of Tex. v. Pullman Co., 312 U.S. 496, 501 (1941). Under Pullman,

federal courts should abstain when "(1) substantial uncertainty exists over the meaning of the

state law in question, and (2) settling the question of state law will or may well obviate the need

to resolve a significant federal constitutional question." Batterman v. Leahy, 544 F.3d 370, 373

(1st Cir. 2008). "[T]he fact that a state proceeding is actually pending strengthens the case for

[Pullman] abstention." Rivera-Feliciano v. Acevedo-Vilá, 438 F.3d 50, 61 (1st Cir. 2006); see Harris

Cnty. Comm'rs Court v. Moore, 420 U.S. 77, 83 (1975) ("Where there is an action pending in state

court that will likely resolve the state-law questions underlying the federal claim, [the Supreme

court has] regularly ordered abstention.").




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   In applying these principles to the plaintiffs' surviving claims, this Honorable Court must

conclude that a stay of the federal proceedings is appropriate. Whether the plaintiffs are right on

claiming that a permit for an IFE should have been issued to them by OCFI hinges on the legality

of OCFI’s basis for the denial the permit based on their interpretation of Law 273 and of their

own regulations, the very issue that the Commonwealth's appellate court is poised to decide in

the related judicial review case KLRA201800359. As is evident from the divergent legal

interpretations of said Law and regulations by the agency and by the plaintiffs, substantial

uncertainty surrounds the issues. Determining whether OCFI’s denial of Mint’s permit request

violated the constitutional principles or state laws and regulations of Puerto Rico involves

complex questions of statutory and regulatory interpretation. The questions concern whether

the OCFI properly and legally discharged its responsibility of controlling and supervising the

financial institutions that may operate or do business in the Commonwealth of Puerto Rico when

denying Mint’s permit application pursuant Law 273 and OCFI’s regulations which may obviate

the need to decide whether the plaintiffs received constitutionally adequate protections during

the process leading to the permit denial. At the very least, once the Puerto Rico courts "have

spoken, adjudication of any remaining constitutional questions may indeed become greatly

simplified." Arizonans for Official English, 520 U.S. at 80. The circumstances of this case suggest

that it might well fit within the Pullman rubric.

   Federalism, comity, and sound judicial administration considerations

   “Comity or abstention doctrines may, in various circumstances, permit or require the federal

court to stay or dismiss the federal action in favor of the state-court litigation.” Exxon v. Mobil

Corporation v. Saudi Basic Industries, 544 U.S. 280, 292 (2005). These doctrines call upon federal


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courts to decline to exercise their jurisdiction in circumstances where the interests of comity and

federalism predominate. See Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 727– 28 (1996). The

Supreme Court of the United States has carved several abstention doctrines, according to which

federal courts should refrain from hearing cases under very particular circumstances, such as if

doing so would interfere with pending state criminal proceedings, see Younger v. Harris, 401 U.S.

37 (1971), or with certain types of state civil proceedings, see Huffman v. Pursue, Ltd., 420 U.S.

592 (1975); and in cases which are duplicative of pending state proceedings, see Colorado River

Water Conservation Dist. v. United States, 424 U.S. 800 (1976), amongst others.

   Considerations of federalism, comity, and sound judicial administration should sway this

Honorable Court to direct a stay of the federal court proceedings in the instant case. See Cruz v.

Melecio, 204 F.3d 14, 22-25 (1st Cir. 2000) (considering the same in ordering a stay of federal

proceedings pending the outcome of a related state court litigation). The Mint’s judicial review

case is pending before the Commonwealth’s appellate court and may yet (very likely) reach

Puerto Rico’s highest court. "From the standpoint of federalism and comity, there is something

particularly offensive about hijacking a case that is pending on the docket of a state's highest

tribunal." Id. at 24. Yet another concern is that, absent a stay, the district court could be forced

to decide over the state laws and regulations at issue here before the Puerto Rico courts get a

chance to issue their decision upon judicial review. A contrary ruling from the Commonwealth

courts could render the federal court's opinion "merely advisory -- an outcome we seek to avoid

in any case." Currie v. Grp. Ins. Comm'n, 290 F.3d 1, 11 (1st Cir. 2002); accord Rivera-Feliciano,

438 F.3d at 62; see Pennzoil Co., 481 U.S. at 11 n.9 ("In some cases, the probability that any

federal adjudication would be effectively advisory is so great that this concern alone is sufficient


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to justify abstention[.]"). It is therefore preferable to allow the Commonwealth courts to resolve

the controlling issues of application of Puerto Rico laws and regulations first.

   Defendant recognizes, of course, that the plaintiffs' retaliation and free speech claims are not

synonymous with their declaratory and injunctive relief claims and, thus, will not necessarily be

resolved by answering the unsettled state law questions. If those claim is not rendered moot by

the Puerto Rico Supreme Court's decision, the parties will have their chance to argue it in federal

court at a later date. Defendant is not requesting that federal court jurisdiction over the

surviving federal claims be surrendered, but simply requesting that the Honorable Court stay

the proceedings until the related Commonwealth proceedings have run their course.

   Younger abstention

   “Younger is a court-made rule of abstention built around the principle that, with limited

exceptions, federal courts should refrain from issuing injunctions that interfere with ongoing

state-court litigation, or, in some cases, with state administrative proceedings.” Maymo-

Melendez v. Alvarez-Ramirez, 364 F.3d 27, 31 (1st Cir. 2004). See also Younger v. Harris, 401 U.S.

37, 43-45, 53-54 (1971). As stated in Maymo-Melendez, “[a]lthough initially applied to protect

state criminal prosecutions against interference, the Younger doctrine has been extended to

“coercive” civil cases involving the state and to comparable state administrative proceedings that

are quasi-judicial in character…” Id. (Emphasis added). See also Ohio Civil Rights Commission v.

Dayton Christian Schools, 477 U.S. 619 (1986) (applying Younger to state administrative

proceedings before the Ohio Civil Rights Commission); Middlesex Country Ethics Committee v.

Garden State Bar Association, 457 U.S. 423 (1982) (applying Younger to administrative

proceedings commenced by the state bar ethics committee to discipline an attorney). Moreover,


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Younger abstention is most commonly applied to suits, such as the instant action, seeking

injunctive or declaratory relief. Rossi v. Gemma, 489 F. 3d 26, 34 (2007).

   In the First Circuit, Younger abstention is appropriate when “the requested relief would

interfere with: (1) an ongoing state judicial proceeding; (2) that implicates an important state

interest; and (3) that provides an adequate opportunity for the federal plaintiff to advance his

federal constitutional challenge.” Verizon New England, Inc. v. Rhode Island Dept. of Labor, 723

F. 3d 113 (2013) (internal quotation marks omitted). All requirements of the three-part Younger

test are met in the case at hand.

   First, there is no doubt that a state administrative action, the consideration and eventual

denial of Mint’s permit application by OCFI, requested by and initiated by Plaintiff, took place

(and is still ongoing in the form of judicial review before the state courts) before this federal suit

was filed. (See ECF Nos. 1-3, 1-4).

   Second, the state provides an adequate forum for Plaintiff to present his federal

constitutional challenge. Moreover, the OCFI’s Final Resolution on Reconsideration clearly

establishes that “[a] party adversely affected by an order or final resolution of OCIF, and once

exhausting all administrative reliefs determined by OCIF, including the Final Resolution issued by

an Administrative Judge, may request judicial review in the Court of Appeals of Puerto Rico,

within a term of thirty (30) days counted from the notice of the determination, according to what

is provided in section 4.2 of Act 38 of 2017, known as “Uniform Administrative Procedure Act of

Puerto Rico”.” (See ECF 1-4 at 20). Meanwhile, the Uniform Administrative Procedure Act, 3 P.R.

Laws Ann. §§ 2101-2201, establishes that “[a]ny party which is adversely affected by a final order

or resolution of an agency…or by the corresponding administrative appellate body may file a


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petition for review before the Court of Appeals.” 3 P.R. Laws Ann. § 2172. Thereafter, the Puerto

Rico Court of Appeals’ decision regarding Plaintiff’s federal claims would be reviewable by the

Supreme Court of Puerto Rico, and ultimately by the Supreme Court of the United States. See 28

U.S.C. § 1257.

   In Huffman v. Pursue, Ltd., 420 U.S. 592, 606 (1975) the Supreme Court of the United States

stated “[w]e do not understand why the federal forum must be available prior to completion of

the state proceedings in which the federal issue arises, and the considerations canvassed in

Younger militate against such a result.” Moreover, in Ohio Civil Rights Commission v. Dayton

Christian Sch., Inc., 477 U.S. 619 (1986), the Court emphasized that the availability of state judicial

review of an administrative forum’s decisions ensured an adequate opportunity to raise

constitutional issues. See Ohio Civil Rights Comm'n v. Dayton Christian Sch., Inc., 477 U.S. 619,

629 (1986) (citing Middlesex Cnty. Ethics Comm. v. Garden State Bar Ass'n, 457 U.S. 423, 436

(1982) (“[I]t is sufficient under Middlesex, supra, 457 U.S., at 436, 102 S. Ct., at 2523, that

constitutional claims may be raised in state-court judicial review of the administrative

proceeding.”) Indeed, the First Circuit, in Maymo-Melendez v. Alvarez-Ramirez, 364 F.3d 27, 35

(1st Cir. 2004), held that “Younger now has to be read as treating the state process—where the

administrative proceeding is judicial in character—as a continuum from start to finish.”

   Third, the “important state interest” factor is present and that the third prong of Younger is

also met. The regulation and licensing of the financial institutions that want operate or do

business in the Commonwealth of Puerto Rico has been recognized as an important state

interest, so much so that the OCFI is also recognized by the Government of Puerto Rico as an




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agency of public law and order of the Government of Puerto Rico. See P.R. Laws Ann. tit. 7, See

P.R. Laws Ann. tit. 7, § 2003.

   Finally, it is important to note that the general principle that federal courts should adjudicate

claims within their jurisdiction does not apply to claims brought pursuant to the Declaratory

Judgment Act, 28 U.S.C. §§ 2201-2202. Indeed, the Act “neither imposes an unflagging duty upon

the courts to decide declaratory judgment actions nor grants an entitlement to litigants to

demand declaratory remedies.” Diaz-Fonseca v. Puerto Rico, 451 F.3d 13, 39 (1st Cir. 2006)

(internal quotation marks omitted)(emphasis added). See also El Día, Inc. v. Hernández Colon, 963

F.2d 488, 493 (1st Cir.1992). “Consequently, federal courts retain substantial discretion in

deciding whether to grant declaratory relief.” Ernst & Young v. Depositors Econ. Prot. Corp., 45

F.3d 530, 534, 1995 WL 20852 (1st Cir. 1995).

   Thus, not only are all three elements of the Younger test met, but this suit is one brought

pursuant to the Declaratory Judgment Act, which offers “a window of opportunity, not a

guarantee of access,” Ernst & Young, 45 F.3d at 534, the court’s jurisdiction in the instant case is

discretional. Therefore, to comply with the Supreme Court of the United States’ mandate of

fostering the interests of comity and federalism through Younger abstention, this Honorable

Court must abstain from hearing this case and allow the state proceeding to continue its course.

   Colorado River-Brillhart/Wilton doctrines

   In Colorado River Water Conservation Dist. v. United States, 24 U.S. 800, 818 (1976), the

Supreme Court of the United States identified certain exceptional circumstances “permitting the

dismissal of a federal suit due to the presence of a concurrent state proceedings for reasons of

wise judicial administration.” However, in Wilton v. Seven Falls Co., 515 U.S. 277 (199), the


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Supreme Court of the United States refused to apply the Colorado River abstention standard to

a suit under the Declaratory Judgment Act involving a parallel state court proceeding. The Court

concluded that the “exceptional circumstances” test of Colorado River was too restrictive of

federal courts’ discretion when applied to suits for declaratory judgments. Thus, in Wilton, the

court adopted and developed the more lenient standard announced years earlier in Brillhart v.

Excess Ins. Co. of Am., 316 U.S. 491 (1942), a similar declaratory judgment suit. In Brillhart, the

court had stated that “[a]lthough the District Court had jurisdiction of the suit under the Federal

Declaratory Judgments Act…it was under no compulsion to exercise that jurisdiction.” Brillhart v.

Excess Ins. Co. of Am., 316 U.S. at 494. As such, “[g]ratuitous interference with the orderly and

comprehensive disposition of a state court litigation should be avoided.” Id. at 495. Likewise, the

Wilton Court stressed that “[s]ince its inception, the Declaratory Judgment Act has been

understood to confer on federal courts unique and substantial discretion in deciding whether to

declare the rights of litigants.” Wilton v. Seven Falls Co., 515 U.S. 277, 286 (1995). See also Rossi

v. Gemma, 489 F.3d 26, 39 (1st Cir. 2007) (“[T]he Supreme Court has made clear that when

declaratory relief is sought under state law, the rigorous Colorado River test need not be met,

and a much more lenient standard is applicable.”).

   Since then, Courts have identified several factors to be considered when determining

whether Brillhart/Wilton abstention is appropriate, including, amongst others 1) “the scope of

the pending state court proceeding and the nature of defenses open there, Wilton, 515 U.S. at

283 (quoting Brillhart, 316 U.S. at 495); and 2) whether the claims of all parties in interest can

satisfactorily be adjudicated in the state court proceeding, Wilton, 515 U.S. at 283 (quoting




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Brillhart, 316 U.S. at 495). See also Rolon v. Univision Television Grp., Inc., 2012 WL 4483786, at

*5 (D.P.R. 2012).

   As previously discussed above, there is no doubt that a state administrative action, requested

by and initiated by Plaintiff, took place (and is still ongoing in the form of judicial review before

the state courts) before this federal suit was filed. (See ECF Nos. 1-3, 1-4), and that the state

forums are adequate for Plaintiff to present his claims. Thus, if this court were to determine that

Younger abstention is inapplicable, then this Honorable Court should abstain based on

Brillhart/Wilton.

   28 U.S.C.S. § 2283 Anti-Injunction Act

   “A court of the United States may not grant an injunction to stay proceedings in a State court

except as expressly authorized by Act of Congress, or where necessary in aid of its jurisdiction, or

to protect or effectuate its judgments.” 28 U.S.C.S. § 2283 Anti-Injunction Act.

   28 USCS § 2283 is not jurisdictional provision but is impairment of authority of power of court

to proceed; when applicable, it is absolute, leaving no discretion in court. Mitchum v. Foster, 407

U.S. 225 (1972).

   Although one of the exceptions to the Anti-Injunction Statute, 28 U.S.C.S. § 2283, must exist

before a federal court has power to stay state court proceedings, the court has discretion to

exercise that power once it exists. The power to enjoin state proceedings is discretionary,

allowing the court to weigh those factors both pro and con to the issuance of a stay. While the

district court might have found that the state court action would so interfere with its judgment

that a stay pursuant to § 2283 was necessary to protect and effectuate that judgment, it was not

required to do so. Refusal to issue the stay is within the discretion of the district court, which


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cannot be overturned unless clearly and prejudicially abused. See Fernández Vargas v. Pfizer, 522

F.3d 55 (1st Cir. 2008). See also Commonwealth Edison Co. v. Gulf Oil Corp., 541 F.2d 1263 (7th

Cir. 1976).

    The consistent understanding has been that the basic purpose of the Anti-Injunction Statute

is to prevent "needless friction between state and federal courts." Oklahoma Packing Co. v. Gas

Co., 309 U.S. 4, 9. See also Mitchum v. Foster, 407 U.S. 225, 233 (1972).

   In the instant case, because plaintiffs seek injunctive, as well as declaratory relief from the

federal court, the Anti-Injunction Act may be applicable. Furthermore, even if one of the

exceptions is deemed by this court to be present, the Honorable Court is not obligated to grant

such relief, for there are other considerations to be taken, such as the effect that granting the

relief sought by plaintiffs would have on the ongoing state proceedings. Such ruling by this

Honorable Court would basically govern all future proceedings in the state judicial revision case,

even deciding its outcome or enjoining the proceedings. That would result in the impermissible

and/or undesirable interference the several abstention doctrines and statutes are meant to

prevent. Hence, this Honorable Court should/must abstain in the instant case until the state

proceedings have run their ordinary course.

                                            CONCLUSION

   The various abstention doctrines and statutes presented above support only one result in the

present case, and that is for this Honorable Court to abstain. As previously stated above,

Defendant is not requesting that federal court jurisdiction over the surviving federal claims be

surrendered, but merely requesting that the Honorable Court stay the proceedings until the

related Commonwealth proceedings have run their course. Given the facts of the present case


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and the remedies sought by Plaintiff in the surviving claims, and after consideration of the “unity

of concerns” behind the various abstention doctrines which support, favor and promote

abstention and comity, Defendant respectfully request that this Court abstain.

   WHEREFORE, the appearing Defendant respectfully requests that this Honorable Court

GRANT the present motion, thereby staying the proceedings in the present case until the related

state proceedings have run their course.

   I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court, using

CM/ECF system, which will send notification of such filing to all parties and attorneys of record.

   RESPECTFULLY SUBMITTED.

   In San Juan, Puerto Rico on this 10th day of May, 2019.

    WANDA VÁZQUEZ GARCED                                    s/ Rafael B. Fernández Castañer
    Secretary of Justice                                                    USDC No. 225112
                                                                    Federal Litigation Division
    WANDYMAR BURGOS VARGAS                                             Department of Justice
    Deputy Secretary in Charge of Civil                                     P.O. Box 9020192
    Litigation                                                      San Juan, PR 00902-0192
                                                             Tel. : (787) 721-2900 Ext.: 1423
    SUSANA PEÑAGARÍCANO BROWN                              Email: rfernandez@justicia.pr.gov
    Director of Federal Litigation
    and Bankruptcy Division




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